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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                CRIMINAL NO. 20-55
 VERSUS                                                  SECTION "F"
 JASON WILLIAMS                                          VIOLATION:
 NICOLE BURDETT



                 NOTICE OF INITIAL APPEARANCE AND ARRAIGNMENT

Take notice that this criminal proceeding is set for JULY 10, 2020 AT 2:00 P.M., before
Magistrate Judge Karen Wells Roby, 500 Poydras Street, New Orleans, LA.

      IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING.

PERSONS ON BOND MUST REPORT TO THE DEPUTY U. S. MARSHAL IMMEDIATELY OUTSIDE
THE COURTROOM FOR EVALUATION AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.


Date: June 26, 2020                           CAROL L. MICHEL, CLERK
                                              by: James Crull, Deputy Clerk

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TO:

‫ ض‬JASON WILLIAMS (summons)                    ‫ ض‬AUSA: Kelly Uebinger
‫ ض‬William Gibbens, Counsel
                                              ‫ ض‬U.S. Probation Office
‫ ض‬NICOLE BURDETT (summons)
‫ ض‬Michael Magner, Counsel                     ‫ ض‬U.S. Probation Office - Pretrial Services Unit

                                              ‫ ض‬U.S. Marshal

                                                 JUDGE

If you change address,                        ‫ ض‬MAGISTRATE JUDGE
notify clerk of court
by phone, (504) 589-7683                      ‫ ض‬IRS - T. Moore
